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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      Case No. 8:04CR118
                                                  )
VERONICA PERALES,                                 )
                                                  )
                            Defendant.            )

                                         ORDER

       THIS MATTER comes before the Court on defendant's Unopposed Motion to

Continue Revocation Hearing, filing 237, now set for February 26, 2008, at 12:00 noon until

a date certain in approximately 60 days. The Court, being fully advised in the premises,

finds that said motion should be granted.

       IT IS THEREFORE ORDERED that the revocation hearing scheduled in this case

shall be continued until the 23rd day of April, 2008, at 1:00 p.m. The defendant is ordered

to appear at such time.

       Dated this 21st day of February, 2008.

                                                  BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
